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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

    DONALD ANGELO BARKSDALE,          *    CIVIL ACTION NO. 17-3034
                                      *
                       PLAINTIFF,     *
                                      *
    VERSUS                            *    JUDGE JAY C. ZAINEY
                                      *
    BP EXPLORATION & PRODUCTION       *
    INC., et al.,                     *
                                      *    MAGISTRATE JUDGE
                       DEFENDANTS.    *    DONNA PHILLIPS CURRAULT
                                      *
    Related to: B3 PLEADING BUNDLE    *
                  in MDL No. 2179     *
                                      *
    **************************
                  DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

        NOW INTO COURT, through undersigned counsel. Come Defendants BP Exploration &

Production, Inc., BP America Production Company, and BP p.l.c. (collectively the “BP Parties”)1

to respectfully request that the Court dismiss Plaintiff’s claims in this toxic tort “B3” matter with

prejudice under Federal Rule of Civil Procedure 56. BP's argument rests on two grounds. One,

BP has filed a separate Daubert motion to exclude Dr. Cook's testimony, which, if granted, will

eliminate the plaintiff's expert support. And two, even if he survives BP's Daubert challenge,

Plaintiff has not submitted any expert proof on specific causation. The material facts are

undisputed and Defendants are entitled to judgment as a matter of law.

        WHEREFORE, the BP Parties respectfully request that the Court grant their motion for

summary judgment and dismiss Plaintiff’s claims with prejudice.




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       Halliburton Energy Services, Inc., Transocean Deepwater, Inc., Transocean Holdings, LLC, and
       Transocean Offshore Deepwater Drilling, Inc. join in this motion for summary judgment.
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                              Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 24, 2022 a copy of the foregoing pleading was filed

electronically with the Clerk of Court using the CM/ECF system, which will send a notice of

electronic filing to all counsel of record.

                                              /s/ Jared E. Nelson




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